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                                                                              FILED
                             NOT FOR PUBLICATION
                                                                               AUG 31 2017
                      UNITED STATES COURT OF APPEALS                       MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS


                              FOR THE NINTH CIRCUIT


   IN RE: AMERICAN APPAREL, INC.,                  No.   15-56258
   2014 Derivative Shareholder Litigation,
                                                   D.C. No. 2:14-cv-05230-MWF
   PETER KRAVITZ, as Trustee for and on
   behalf of AAI Litigation Trust,
                                                   MEMORANDUM*
                Plaintiff-Appellant,

   v.

   DOV CHARNEY, ET AL.,

                Defendants-Appellees.



                     Appeal from the United States District Court
                         for the Central District of California
                    Michael W. Fitzgerald, District Judge, Presiding

                             Submitted August 29, 2017**
                                Pasadena, California




        *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
        **
               The panel unanimously concludes this case is suitable for decision
  without oral argument. See Fed. R. App. P. 34(a)(2).
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  Before: WARDLAW and BYBEE, Circuit Judges, and ILLSTON,*** District
  Judge.

        Litigation Trustee Peter Kravitz appeals the district court’s order of

  dismissal under Federal Rule of Civil Procedure 41(b) for failure to prosecute or

  comply with a court order. The district court did not abuse its discretion in

  dismissing the case under Rule 41(b). See Yourish v. Cal. Amplifier, 191 F.3d 983

  (9th Cir. 1999); Ferdik v. Bonzelet, 963 F.2d 1258 (9th Cir. 1992). On this record,

  the relevant factors weigh in favor of dismissal and the district court was not

  required to issue a clear warning or attempt less drastic alternatives before

  dismissing the action without prejudice.

        AFFIRMED.




        ***
              The Honorable Susan Illston, United States District Judge for the
  Northern District of California, sitting by designation.
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